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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
 DR. WILLIAM S. HUSEL, M.O.

                                                    Case No.: 19-CV-12478
        Plaintiff,

                        – against –
                                                    COMPLAINT
 TRINITY ASSURANCE LTD. (CAYMAN)
 and TRINITY HEALTH CORPORATION,


                        Defendants.




       Plaintiff Dr. William S. Husel (“Dr. Husel”), by his undersigned counsel, allege as

follows against defendants Trinity Assurance Ltd. (Cayman) and Trinity Health Corporation.

                                 NATURE OF THE ACTION

       1.      This is an action brought by an insured against an insurer, and the “first named

insured” under certain applicable policies of insurance to enforce the obligation to defend, and in

connection with such defense, advance to the costs and fees of Dr. Husel’s selected counsel on

an ongoing basis, and to reimburse him for fees for services already provided in his defense.

       2.      Under the four insurance policies at issue here, the obligation to defend is

delegated from the insurer – defendant Trinity Assurance Limited (Cayman) (“TAL”) – to the

first named insured – defendant Trinity Health Corporation (“THC”). TAL is a captive insurer of

THC.

       3.      Though the duty to defend is delegated from TAL to THC (TAL is obligated to

indemnify THC for advancing fees and costs), it is TAL that considered and denied Dr. Husel’s

claim to advance and indemnify the costs of a defense in a criminal matter, even though, subject



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to a reservation of rights, they have defended Dr. Husel in 36 separate and distinct civil

proceedings arising from the same allegations. THC has therefore breached its duty to defend

separate and apart from TAL’s breaching its obligation to indemnify.

       4.      TAL’s determination not to advance the costs of Dr. Husel’s defense, unless

promptly remedied, will deprive Dr. Husel of the benefit of the the applicable insurance policies,

which Dr. Husel bargained for and obtained as consideration in his employment agreement. His

fully-signed employment agreement explicitly provides that THC would obtain Healthcare

Liability Insurance on his behalf, and it did so.

       5.      Absent the advancement of defense costs, Dr. Husel will not be able to defend

himself and prove his innocence in the criminal case and his defense will be significantly less

than he otherwise would be able to present than if THC and TAL complied with the obligations

under the applicable insurance policies. It is possible that Dr. Husel, a man who is entirely

innocent of any criminal (or civil) wrongdoing, can be convicted because his employer and its

captive insurance company are wrongfully refusing to abide by the “duty to defend” obligations

in the applicable insurance policies, and refusing without any good-faith basis to advance his

defense costs at the most critical time of the criminal proceeding: now.

                                             PARTIES

       6.      Plaintiff Dr. William S. Husel, D.O. is a resident of the State of Ohio.

       7.      During the relevant period, Dr. Husel was employed as an attending physician in

the intensive care unit of non-party Mount Carmel Health System, a non-party hospital that is

wholly owned and controlled by defendant THC.

       8.      Defendant THC is an Indiana corporation with a principal place of business

located at 20555 Victor Parkway, Livonia, Michigan.



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       9.      Defendant TAL is a limited liability company established under the laws of the

Cayman Islands. TAL is a “captive” insurer for THC. THC owns and controls TAL. TAL

provides insurance to THC, as well as THC’s subsidiaries, affiliates, employees and employees

of THC’s subsidiaries and affiliates, including Dr. Husel.

                                 JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(a)(1) because the plaintiff is diverse from each defendant.

       11.     This Court has general personal jurisdiction over THC because its principal place

of business is located within the Eastern District of Michigan.

       12.     This Court has general personal jurisdiction over TAL because it is a captive

insurer of THC, and as such, its entire business is to service the insurance needs of THC.

       13.     The Court has specific jurisdiction over TAL because the policies of insurance at

issue here were provided to the Michigan-based defendant THC and because, on information and

belief, all decisions regarding coverage were made by TAL’s authorized agents located in

Livonia, Michigan.

       14.     Plaintiff seeks incurred damages of no less than $75,000, satisfying the amount-

in-controversy requirement of 28 U.S.C. § 1332(a), and a declaration to prevent further damages.

       15.     Venue is appropriate in this judicial district under 28 U.S.C. § 1391(b)(2) because

a substantial part of the events or omissions giving rise to the claim occurred herein.

                                   STATEMENT OF FACTS

Dr. Husel’s Employment at Mount Carmel

       16.     Dr. William S. Husel, M.O. was employed as a doctor who worked in the

Intensive Care Unit (“ICU”) at Ohio’s Mount Carmel West hospital, a subsidiary of THC, from

2013 until December 2018.

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       17.     In connection with his professional responsibilities in the ICU, Dr. Husel was

frequently the doctor tasked with prescribing pain medication to near-death patients who were

being removed from life support.

       18.     In carrying out this responsibility, Dr. Husel often prescribed pain medication to

patients, including morphine, fentanyl, Versed, and Dilaudid.

       19.     All of these medications are commonly prescribed narcotics and sedatives used to

make patients feel relaxed or sleepy, and are indicated to treat severe pain felt during the process

of dying.

       20.     As part of his fully signed employment agreement, Dr. William Husel was

guaranteed that his employer would provide him with “professional liability insurance for all

activities conducted in the course of employment” at Mount Carmel Hospital in Columbus, Ohio.

(A true and correct copy of Dr. Husel’s Employment Agreement is attached hereto as Exhibit 1.)

       21.     Mount Carmel Hospital is a subsidiary of THC; as such, THC was the entity that

purchased the “professional liability insurance” on behalf of the hospital and Dr. Husel.

       22.     The professional liability insurance that THC obtained in satisfaction of this

agreement explicitly provides, among other things, that it would cover “Defense Expenses

incurred in connection with a claim arising from Healthcare Professional Liability . . . even if

any of the allegations of the claim are groundless, false, or fraudulent.”

       23.     In compliance with these obligations, each year, THC obtained the promised

insurance policy, issued by TAL. In fact, THC obtained four separate insurance policies, each

from TAL, providing four layers of coverage.

       24.     In compliance with these obligations, THC obtained the Integrated Risk Liability

Policy, Policy No. V-18/19-INTPR-1001 (the “Primary Policy”) which covered Dr. Husel as an



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employee of one of THC’s subsidiary hospitals. (A true and correct copy of the Primary Policy

is attached as Exhibit 2.)

       25.     In compliance with these obligations, THC obtained the Follow Form Buffer

Layer Liability Policy, Policy Nov-19/19-HP-BUF (the “Buffer Policy”) which covered Dr.

Husel as an employee of one of THC’s subsidiary hospitals. (A true and correct copy of the

Buffer Policy is attached as Exhibit 3.)

       26.     In compliance with these obligations, THC obtained the Excess Integrated Risk

Liability Policy, Policy No. VXSR-18/19-1 (the “Excess Policy”) which covered Dr. Husel as an

employee of one of THC’s subsidiary hospitals. (A true and correct copy of the Excess Policy is

attached as Exhibit 4.)

       27.     In compliance with these obligations, THC obtained the Follow Form High

Excess Layer Policy, Policy No. V-XSPLGL-18/19 (the High Excess Policy”), in effect from

July 1, 2018 to July 1, 2019, which covered Dr. Husel as an employee of one of THC’s

subsidiary hospitals. (A true and correct copy of the High Excess Policy is attached as Exhibit

5.)

       28.     In the indictment dated June 5, 2019 (the “Indictment”) Dr. Husel is accused of

“purposely caus[ing] the death of twenty-five individuals between February 10, 2015 and

November 2018. (A true and correct copy of the complaint is attached hereto as Exhibit 6).

       29.     The Indictment does not indicate any theory of motive. During a press

conference, the local prosecutor acknowledged that there was no evidence of any motive.

       30.     All 25 individuals whose deaths are at issue in the Indictment were terminally ill

and had been, or were in the process of, having life support terminated at the time Dr. Husel is

alleged to have prescribed too much pain relief medication.



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       31.      In each case, Dr. Husel’s medical responsibility included selecting pain

medication or medications and dosage(s) to treat the anticipated pain each patient was expected

to experience in the period between the removal of life support and death.

       32.      The Columbus Dispatch reviewed the medical records of the individuals who Dr.

Husel is accused of purposely ending the life of, and published descriptions, among others:


       Rebecca Walls, 75, of the South Side arrived at the hospital on Nov. 13, 2018 with increased difficulty
       breathing. She developed a blood clot and was transferred to the ICU. The doctor talked to the family on
       Nov. 19 and they agreed to provide comfort care. She was given 1,000 micrograms of fentanyl and 10 mg
       of Versed at 1:26 a.m., and died six minutes later.

       Melissa Penix, 82, of Grove City arrived at the hospital with difficulty breathing on Nov. 15, 2018 and was
       transferred to the ICU for further monitoring. Her family asked that the ventilator be removed. She was
       given 2,000 micrograms of fentanyl and 10 mg of Versed at 10:48 and 10:40 p.m., respectively, and died at
       10:53.

       James Allen, 80, of Franklinton, was taken to the hospital on May 24, 2018 because of septic shock and
       was transferred to the ICU on May 28. He was given 1,000 micrograms of fentanyl and 6 mg of Versed at
       11:20 p.m. on May 28, and died 20 minutes later.

       Emma Bogan, 75, of the Far West Side was taken to the hospital on Feb. 10 with septic shock. Medical
       records indicate that a doctor explained the grave situation to the family and they decided to take her off the
       ventilator. She died at 1:07 a.m. on Feb. 11, 2015, two minutes after she was given 400 micrograms of
       fentanyl and 4 micrograms of Versed.

       Jan Marlene Thomas, 65, of the Far West Side was brought to the hospital in respiratory arrest on Feb. 28,
       2015 and was diagnosed with multi-embolic stroke. Medical records indicate her family has asked that she
       be removed from the ventilator. She was given 800 micrograms of fentanyl at 12:11 a.m. on March 1 and
       died at 12:42 a.m.

       Joanne S. Bellisari, 69, of the West Side. She arrived at the hospital April 22, 2015 after a seizure. The
       family decided to withdraw care on May 10, medical records indicate. She was given 1,000 micrograms of
       fentanyl at 11:32 p.m. on May 10 and died eight minutes later.

       Michael Walters, 57, arrived at the hospital on Oct. 6, 2017 with acute brain swelling and respiratory
       failure. The family was encouraged to change his status to do not resuscitate, and agreed. He was given 500
       micrograms of fentanyl at 4:11 a.m. on Oct. 11, and died eight minutes later.

       Larry Brigner, 70, of the South Side arrived at the hospital on Dec. 10, 2017 due to an altered mental state
       related to a history of cancer. A doctor’s note said he discussed Brigner’s grim prognosis, and the family
       decided to withdraw care. He was given 500 micrograms of fentanyl and 4 mg of Versed at 10:36 p.m., and
       died 5 minutes later.

(A true and correct copy of the Columbus dispatch article is attached as Exhibit 7.)




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       33.     None of these patients’ family members or loved ones had any reason to suspect

that the patient had received anything other than the appropriate palliative medical and comfort

care at the end of their lives, given their decision to withdraw life support.

December 2018 – Mount Carmel Contacts Families of Deceased Patients to Allege that Dr.
Husel Prescribed End-of-Life Pain Medication that Hastened Death; Families Sue as a Result

       34.     In October 2018, the hospital received an internal complaint from a pharmacist

questioning whether the hospital had any policies or procedures regarding the proper dosage of

pain medication during end of life care. This inquiry did not suggest there was any cause for

alarm or any wrongdoing by Dr. Husel; it was merely a question. The hospital did not take any

action in response to this initial “complaint.”

       35.     The hospital did not have any policies or procedures with respect to proper dosage

of any pain medication during the withdrawal of ventilator and other forms of life support. Each

doctor was expected to prescribe appropriate medication based on their own training and

experience.

       36.     The hospital received a second internal complaint from a pharmacist questioning

the proper dosage of pain medication during end-of-life treatment that Dr. Husel was prescribing,

pharmacists were approving, and nurses were administering, prompting the hospital to initiate an

“internal investigation” which lasted no more than a few weeks. Following this inquiry, and prior

to any patient or family member accusing the hospital of any wrongdoing, the hospital went to

the state prosecutor’s office to report that their inquiry had found that Dr. Husel was prescribing

pain medication to dying patients in amounts that they believed “hastened” patients’ deaths. The

hospital then began calling family members at the end of December 2018 to report the same

findings.




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       37.      In these unsolicited calls, representatives of the hospital informed family

members of the deceased patients that the patients were each “given an excessive dose of

fentanyl by Defendants which hastened and/or caused [] death.” (True and correct copies of 4

selected complaints brought by the estates of deceased patients are attached hereto as Exhibit 8

as a composite exhibit).

       38.     Many family members were told to expect a call from a detective who was

investigating the matter. (Ex. 8)

       39.     Two weeks later, the hospital made another round of calls to family members of

35 patients who had died in the hospital to inform them that “the actions [were] not an isolated

event, but rather a repeated course of conduct by [Dr. Husel, pharmacists, and nurses] with

respect to at least 26 other patients at Mount Carmel” and that “multiple physicians, nurses, and

pharmacists been fired based on this conduct.” (Ex. 8)

       40.     Following, and as a result of, the hospital’s unsolicited outreach to the decedents’

families and accusations that Dr. Husel had hastened his patients’ deaths, the first of many civil

lawsuits was filed on January 14, 2019. Since that date, an additional 35 lawsuits have been filed

against the hospital, Dr. Husel, and dozens of pharmacists and nurses each alleging that Dr.

Husel and other defendants intended to hasten the death of the patient.

       41.     As of January 29, 2019, four civil lawsuits against the hospital, Dr. Husel, and

several pharmacists and nurses had been filed.

       42.     The complaints in each of the first four cases allege that on four separate

occasions, at different times and with different alleged co-defendants, a patient was prescribed

pain relief medication by Dr. Husel, that was “reviewed and approved by Mount Carmel’s

pharmacist [] and the medication was made available to the patient’s nurse.”



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        43.     The first four civil complaints allege that the pharmacist knew that the dosage of

the pain medication was “grossly inappropriate, serviced no therapeutic purpose or function, and

would only serve to hasten the termination of the patient’s life.”

        44.     These complaints each alleged that the nurse “administered the lethal dosage”

“with full knowledge that such a grossly inappropriate dose of fentanyl would hasten the

termination of [the patient’s] life.

        45.     Each of these four complaints also alleged that “Plaintiff received a call from a

physician-administrator affiliated with Mount Carmel. That administrator informed Plaintiff that

her [family member] was given an excessive dosage of fentanyl by Defendants which hastened

and/or caused [the patient’s] premature death.”

        46.     In each case, the complaints allege that the administrator further informed

Plaintiff that all individuals involved in the provision of the excessive dosage of fentanyl were

suspended from patient care by Mount Carmel, as a result of, inter alia, the actions taken with

regard to [the patient].”

        47.     These four Complaints also each allege that the respective “Plaintiff[s] received

yet another call from Mount Carmel administration on January 14, 2019 informing [them] that

the actions described [in the Complaint] are not an isolated event, but rather a repeated course of

conduct by Defendants with respect to at least 26 patients at Mount Carmel. Further, multiple

physicians, nurses, and pharmacists have been fired based on this conduct.”

        48.     The complaints each also alleged in words or effect that Defendant Dr. Husel, the

nurses, and pharmacists were each employees of Mount Carmel at all times relevant, acting

within the scope of their employment when they provided care and treatment to the patients,

including the ordering, approval, and administration of fentanyl.



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       49.     Finally, the civil complaints each alleged that the conduct of defendants Dr.

Husel, the nurses, and pharmacists “could only result from Mount Carmel’s systemic

deficiencies and practices, which Mount Carmel failed to remedy, and which resulted in

significant harm (death) to at least 26 patients.”

       50.     At no time did the hospital have any policies or procedures regarding the proper

amount of fentanyl or any other pain medication during ventilator withdrawal. At no time did

the hospital provide any training to any doctor in this regard. At no time prior to firing Dr. Husel

was he made aware that anyone believed the doses he was prescribing were excessive or in any

way inappropriate.

       51.     At all times Dr. Husel was intending to provide proper palliative care to his

patients who were dying, while attempting to minimize pain and suffering experienced by the

patient and their family members.

       52.     Even assuming that the doses of pain medication that Dr. Husel prescribed,

pharmacists approved, and nurses administered hastened the death of patients who received the

medication while being taken off of life support, his conduct is shielded from prosecution under

Supreme Court precedent in Vacco v. Quill, 521 U.S. 793 (1997), which recognized the “double-

effect” of palliative care in which the prescription of medication for pain relief – even when it

hastens death – is an acceptable form of care, providing doctors with necessary protections from

undue litigation or even criminal prosecution in connection with the extremely sensitive and

controversial delegation of providing compassionate care for patients as they die.

       53.     Moreover, Ohio law provides immunity for doctors who prescribe pain

medication that hastens a patient’s death, if given as part of palliative care and the purpose of

medication is to ease suffering. Ohio Revised Code, Chapter 2133 Modified Uniform Rights of



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the Terminally Ill Act and the DNR Identification and Do-Not Resuscitate Order Law, Section

2133: Immunities, grants immunity from criminal prosecution to doctors:

       “Prescribing… or causing to be administered by judicious titration or in
       another manner any form of medication, for the purpose of diminishing the
       … patient’s pain or discomfort and not for the purpose of postponing or
       causing the qualified patient’s or other patient’s death, even though the
       medical procedure, treatment, intervention, or other measure may appear
       to hasten or increase the risk of the patient’s death, if the attending
       physician so prescribing, dispensing, administering, or causing to be
       administered or the health care personnel acting under the direction of
       the attending physician so dispensing, administering, or causing to be
       administered are carrying out in good faith the responsibility to provide
       comfort care…”


Early 2019 – THC and TAL Comply with Their Obligation to Defend Dr. Husel Under the
Contract of Insurance at Issue Here and Appoint Counsel

       54.     Having been put on notice of these civil claims against him alleging that he

intentionally caused the death of these four patients, Dr. Husel made a demand on TAL that his

defense fees and costs be advanced.

       55.     TAL sent Dr. Husel and THC a Reservation of Rights letter dated January 29,

2019 (the “First ROR”). (A true and correct copy of the reservation of rights letter dated January

29, 2019 is attached as Exhibit 9.)

       56.     The First ROR described the Policies, the terms of coverage and exclusions and

concluded that “until the veracity of the facts of the Claims is determined, it is unclear whether

Dr. Husel is insured by TAL for the Claims. Accordingly, TAL reserves its rights and defenses

with respect to the Claims as it relates to coverage for Dr. Husel under the Policies.”

       57.     Because there was no determination as to the veracity of the facts of the Claims,

TAL agreed to indemnify THC for all of Dr. Husel’s Defense Costs.

       58.     Given this conclusion, and pursuant to Part VIIIA of the Primary Policy which

obligates THC to defend Dr. Husel, THC notified Dr. Husel that “Trinity Health Corporation

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similarly reserves its rights under the same reservations as set forth in the [January 29, 2019]

letter from the Insurance Company. Trinity Health Corporation will provide you with a defense

of the Claims pursuant to this reservation of rights. We have hired Greg Foliano to defend you.

Please provide this firm with your full cooperation.”

       59.     On or about April 15, 2019, TAL provided THC with a “Supplemental

Reservation of Rights re: Dr. William Husel” to account for “multiple additional complaints as

brought by an additional 26 claimants (the “Second ROR”). (A true and correct copy of the

Second ROR is attached hereto as Exhibit 10.)

       60.     As noted by the Second ROR, these additional 26 complaints largely mirrored the

original four in that they “collectively allege that Dr. Husel, Mount Carmel and its medical staff

prescribed, ordered, and administered lethal doses of fentanyl (or similar drugs) to be given to

the Plaintiffs which subsequently caused their death while they were patients of Mount Carmel.”

       61.     In each case, “[t]he Plaintiffs allege that the Fentanyl doses were either ordered

negligently and not properly reviewed, or were intentionally prescribed by Dr. Husel for the

purpose of hastening the termination of Plaintiffs’ lives.”

       62.     The Second ROR largely mirrored the First ROR, and concluded, once again that

“until the veracity of the facts of the New Claims is determined, it is unclear whether Dr. Husel

is insured by TAL for the New Claims.”

       63.     As such, Trinity Health, continued to provide a defense for Dr. Husel for each of

these 26 civil claims, and to advance his defense costs.

June 2019 – Dr. Husel Is Indicted for 25 Individual Counts of Murder, Ranging from
February 2015 to November 2018, on the Theory that Dr. Husel’s Issuance of Prescriptions
for Pain Medication Constituted the “Purposeful” Cause of Death in Each Case

       64.     On June 5, Dr. Husel was indicted on 25 counts of murder in Franklin County,

Ohio pursuant to section 2903.02 UF of the Ohio Revised Code.

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       65.     The Indictment provides no factual allegations whatsoever, except to state the

date of each separate event, the name of the Mount Carmel patient who died in the hospital, and

that the Grand Jury found that Dr. Husel “did purposely cause the death” of the patient.

       66.     The Indictment does not allege, and the prosecutor has made no public statements

explaining, why Dr. Husel, with the assistance of dozens of other hospital nurses and

pharmacists, would intentionally cause the death of severely ill patients after their families had

determined that care should be withdrawn and that they should be permitted to die in peace. The

prosecutor asserted in his press conference that they had no evidence of any motive behind the

“purposeful murder” of patients who had been removed from life support upon the wishes of

their family members (or legal surrogates).

July 2019 -- Dr. Husel’s Criminal Counsel Presents a Claim to TAL and THC for Coverage of
Defense Fees and Costs

       67.     On July 8, 2019, counsel for Dr. Husel wrote to counsel for Trinity Health and

Mount Carmel Hospital to demand coverage of his defense in the criminal action under the

Policies.

       68.     That day, counsel for Mount Carmel and Trinity Health acknowledged he had

received the demand, that the demand had been forwarded to the insurance company and that the

insurance company would be in touch. (A true and correct copy of the July 8, 2019 demand letter

is attached hereto as Exhibit 11.)

       69.     On April 15, 2019, TAL provided Trinity Health Corporation with a

“Supplemental Reservation of Rights re: Dr. William Husel” to account for “multiple additional

complaints as brought by an additional 26 claimants. These additional 26 complaints largely

mirrored the original four complaints, and the April 15 reservation of rights letter largely

mirrored the original letter, concluding once again that “until the veracity of the facts of the New


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Claims is determined, it is unclear whether Dr. Husel is insured by TAL for the New Claims.”

Because there was no basis on which to deny coverage for these claims, Trinity Health continued

to provide a defense for Dr. Husel for each of these 26 civil claims, and to advance his Defense

Expenses, and TAL continued to indemnify Trinity Health for all Defense Expenses Trinity

Health advanced, a determination which was transmitted to Dr. Husel on August 2, 2019.

       70.     On August 5, 2019, TAL issued a “Second Supplemental Reservation of Rights”

letter. (A true and correct copy of the Third ROR is attached hereto as Exhibit 12.) The Third

ROR related only to Dr. Husel’s continued defense in the civil actions. (the “Third ROR”)

       71.     As of August 5, 2019 (as before) TAL was not in possession of any information

that would permit it to determine whether Dr. Husel was acting outside the scope of his

employment in connection with the events set forth in the 36 civil claims that were brought

against him, the hospital and other medical professionals.

       72.     As with the previous RORs, in light of TAL being in possession of no information

to support a determination which would permit it to deny coverage, it agreed to continue

indemnifying Trinity Health for Dr. Husel’s Defense Costs. As a result, Trinity Health notified

Dr. Husel on that same day that “in light of the enclosed second supplemental reservation of

rights letter in the civil matters, Trinity will continue to provide you a defense for the Civil

Claims through appointed counsel, Greg Foliano.”

August 5, 2019 –TAL and THC Deny Coverage and Refuse to Defend Dr. Husel; Issue
Written Explanation Contradicted by Previous Reservation of Rights on Civil Claims and
Unsupported by the Plain Language of the Policy

       73.     While the Indictment lacks any factual detail beyond the identity of the

descendants, the complaints in the parallel civil actions identify the events at issue in each of the

counts in the Indictment.




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       74.      However, though the 25 counts of the Indictment are based on the same facts at

issue in the civil actions, and notwithstanding the fact that TAL is covering the costs of Dr.

Husel’s defense in each and every civil action, and on the exact same day that TAL issued a

reservation of rights letter agreeing to indemnify Trinity Health for Dr. Husel’s Defense Costs in

defending thirty civil claims, TAL issued a letter denying coverage for the Defense Costs

associated with defending against the criminal indictment. (A copy of the August 5, 2019 letter

denying coverage (the “Denial Letter”) is attached hereto as Exhibit 13.)

       75.      The August 5 letter denying coverage set forth six reasons for denying coverage,

several of which are based on purported determination of facts that TAL expressly asserted in its

other letter dated the same day that it lacked sufficient evidence to determine.

       76.      Specifically, TAL denied coverage on the basis that Dr. Husel was “acting outside

his scope of employment” when he prescribed pain relief medication to Mount Carmel Patients

which were reviewed and approved by a Mount Carmel pharmacist and administered by a Mount

Carmel Nurse.

       77.      This position is incompatible with the position TAL took in the First ROR, the

Second ROR and the Third ROR, and is in direct breach of its obligations under the plain and

unambiguous language in the Policy.

       78.      The only currently discernable factual difference between claims alleged in the

civil cases, for which TAL is funding a defense, and the counts of the Indictment, for which TAL

is refusing to fund a defense, is that THC is not a named party in the Indictment.

       79.      While the Reservation of Rights letters all conclude that “veracity of the facts of

the New Claims” could not determined, including the one dated August 5, 2019, in the denial




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letter (also dated August 5, 2019) TAL presumes the truth of the allegations by deciding that Dr.

Husel acted outside of the scope of his employment.

       80.     Among the other reasons for denying Dr. Husel’s entitlement to a funded defense,

TAL claimed that the Indictment does not qualify as a “Loss.”

       81.     However, a “Loss” is not required for coverage, only a “Loss Event.” Since a

“Loss Event” has been alleged, the policies obligate THC and TAL to advance Dr. Husel’s

Defense Expenses expended in defending the Indictment.

       82.     Similarly, TAL denied coverage claiming that allegations in the Indictment, that

Dr. Husel over-prescribed fentanyl to 25 patients on 25 separate occasions over the course of

three years, does not constitute an “Event” under the Policies.

       83.     However, the term “Event” is not critical, because the Policies obligate TAL to

indemnify and Trinity Health to defend all claims where there is a “Medical Incident” at issue,

regardless of the definition of “Event.”

       84.     Both the 36 civil complaints and the Indictment allege claims arising from a

“Medical Incident,” specifically the prescribing of pain medication to patients of the hospital;

prescriptions which were reviewed and approved by a pharmacist, and administered by a nurse.

       85.     TAL then denied coverage on the basis that the Indictments do not give rise to a

payment obligation to any third party. But beyond being an irrelevant statement given the basis

for the coverage claim, the Ohio statute invoked in the Indictment is punishable by a monetary

fine as well as imprisonment.

       86.     The Denial Letter also denied coverage by asserting that the claim arises “from

the knowing, willful, violation of a penal statute committed by or with the knowledge of the




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Insured.” But TAL acknowledged in its other letter issued on August 5, that it is not in

possession of evidence in which it can determine the veracity of the claims.

       87.     The August 5 Denial Letter also denied coverage on the basis that the criminal

indictment seeks non-pecuniary relief. But this is an attempt to seek to interpret an ambiguous

term against the insured. It is also simply false. The Indictment seeks pecuniary relief in the

form of fines of $15,000 for each of the 25 counts.

       88.     The entire basis of refusing to defend Dr. Husel is the argument that the policies

do not advance Defense Expenses to defend against criminal allegations. But nowhere in any of

the four policies is this said. In fact, the opposite is true. A plain reading of the four policies

make clear that they obligate TAL to indemnify, and THC to defend, both civil and criminal

allegations. This obligation is specifically required where – as here – the claims are “false,

fraudulent, and groundless.”

Description of the Policies

       89.     The Primary Policy provides in Part I entitled Healthcare Professional Liability

and Managed Care Liability Coverage for “Defense Costs.”

       90.     Specifically, the policy provides “[TAL] will also indemnify [Trinity Health] for

Defense Costs incurred in connection with a claim arising from Healthcare Professional Liability

or Managed Care Liability covered under this Policy, even if any of the allegations of the claim

are groundless, false, or fraudulent.”

       91.     While it is TAL that must indemnify Trinity Health for Defense Costs, it is

Trinity Health that has the duty to defend all claims covered by the policy. (Ex. 2, Part VIII

Conditions, Defense Duty “[TAL] has no duty to defend any claim. [Trinity Health] has the duty

to defend all claims that are covered by this policy.”)




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        92.     The Primary Policy defines Healthcare Professional Liability as liability arising

out of a Medical Incident. A Medical Incident means any act, error or omission in the

furnishing of or failure to furnish Medical Services. Medical Services includes “medical,

surgical. . . nursing. . . or care to any person, including (a) the furnishing of medications, drugs . .

. or applications in connection therewith.

        93.     A Medical Incident also includes “any Loss Event. . . that results in injury to any

one Patient or any number of Patients.”

        94.     Loss Event means as respects Part I, Healthcare Professional Liability: A Medical

Incident.

        95.     The Primary Policy’s definition of an “Insured” includes “[a]n Employee of a

Named Insured, including without limitation any physician, resident, or fellow who is an

Employee, but while within the scope of his/her duties as such.”

        96.     Dr. Husel is unquestionably an “Insured” as he was employed by the hospital as

an ICU doctor pursuant to an employment contract.

        97.     “Defense Expenses” under the Primary Policy mean “those amounts incurred in

the investigation, adjustment, defense, settlement, or adjudication of any claim brought against

an Insured that is covered under this Policy. Defense Expenses include (1) legal expenses,

attorney’s fees, and court costs. . .”

        98.     Under the Primary Policy, “Healthcare Professional Liability” means liability

arising out of any act, error or omission in the furnishing of or failure to furnish care to any

person, including the furnishing of medications, drugs or applications in connection therewith.

        99.     The Buffer Policy (Ex. 3), Excess Policy (Ex. 4), and High Excess Policy (Ex. 5)

are all “follow-form” policies that “follow[], appl[y] in conformance with, and [are] subject to



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the same terms, insuring agreements, exclusions, conditions, definitions, endorsements and other

provisions that apply to Group I Health Care Professional Liability, […], of the Followed Policy

[(the Excess Policy)]. Significantly, each of the follow-form policies provide that “[i]f any of the

terms or provisions applicable to Group I, Health Care Professional Liability […] of the

Followed Policy are inconsistent with the terms and provisions of this policy, the terms and

provisions of this policy will control.”

       100.      The High Excess Policy provides two relevant exclusions:

       First--

       To any liability arising out of dishonest, fraudulent, malicious or
criminal acts committed by the Insured. However, for purpose of
determining the applicability of this exclusion, no act of any Insured will be
imputed to any other Insured who did not commit or participate in such act.
Further, this exclusion will apply only if it is determined by final
adjudication that the Insured committed such an act.

       And Second--

        To any liability arising out of the willful violation of any law,
statute, regulation or ordinance committed by the Insured. However, for
purposes of determining the applicability of this exclusion, no act of any
Insured will be imputed to any other Insured who did not commit or
participate in such act. Further, this exclusion will apply only if it is
determined by final adjudication that the Insured committed such an act.

(emphasis added).

       101.      The Primary Policy contains no exclusions to coverage in connection with

allegations of “willful violation of any law, statute, regulation or ordinance committed by the

Insured.”

       102.      As a result of TAL’s denial, Dr. Husel has been injured by virtue of TAL’s refusal

to reimburse the more than $75,000 he has already paid his defense counsel in the criminal

action, and by the perspective loss of defense costs.



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                                     CAUSES OF ACTION

                                   First Cause of Action
                                  (Against all Defendants)
                    (Declaratory Judgment – Advancement of Legal Fees)

       103.    Plaintiff repeats and re-alleges the allegations in the preceding paragraphs as

though fully set forth herein.

       104.    Dr. Husel is an insured under each of the Policies.

       105.    Each of the 25 counts of the Indictment relates to an instance in which Dr. Husel

provided care to a patient in connection with his employment as a physician in Mount Carmel’s

ICU.

       106.    Each of the 25 counts of the Indictment alleges facts that, if proven, would

constitute a separate and distinct “Medical Incident” under the Policies.

       107.    “Medical Incidents” constitute “Loss Events” under the Policies.

       108.    The Policies contain no exclusions for allegations of criminal conduct unless it is

“determined by final adjudication that the Insured committed such an act.”

       109.    The Policies contain no other applicable exclusions to the obligation to advance

the costs of Dr. Husel’s defense.

       110.    The Policies require THC to defend Dr. Husel for claims arising from actual or

alleged Medical Incidents, and require TAL to pay the costs of such defense.

       111.    Under applicable law, given the existence of an adverse relationship between

THC and Dr. Husel, as evidence by calls placed by THC to the families of decedents who had

been under Dr. Husel’s care set forth in paragraphs []-[] above, THC may not select Dr. Husel’s

counsel.




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       112.    On July 8, 2019, Dr. Husel demanded that THC and TAL advance the costs of his

criminal defense.

       113.    On August 5, 2019, TAL denied Dr. Husel’s claim for advancement of the costs

of his criminal defense to the counts of the Indictment.

       114.    The reasons articulated in the Denial Letter are directly contradicted by the

reasons articulated in the First ROR, Second ROR and Third ROR (relating to civil claims based

on the same alleged Medical Incidents but in which the Hospital is also a defendant) and are not

supported by a plain reading of the insurance policies.

       115.    There is an actual controversy, and Dr. Husel is entitled to a declaration of his

rights to the advancement of legal costs and fees in connection with his defense to the counts of

the Indictment.

                                    Second Cause of Action
                                    (Against all Defendants)
                      (Specific Performance and Preliminary Injunction)

       116.    Plaintiff repeats and re-alleges the allegations in the preceding paragraphs as

though fully set forth herein.

       117.    Dr. Husel is an insured under each of the Policies.

       118.    Each of the 25 counts of the Indictment relates to an instance in which Dr. Husel

provided care to a patient in connection with his employment as a physician in Mount Carmel’s

ICU.

       119.    Each of the 25 counts of the Indictment alleges facts that, if proven, would

constitute a “Medical Incident” under the Policies.

       120.    “Medical Incidents” constitute “Loss Events” under the Policies.




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       121.    The Policies contain no exclusions for allegations of criminal conduct unless it is

“determined by final adjudication that the Insured committed such an act.”

       122.    The Policies contain no other applicable exclusions to the obligation to advance

the costs of Dr. Husel’s defense.

       123.    The Policies require THC to defend Dr. Husel for claims arising from actual or

alleged Medical Incidents, and require TAL to pay the costs of such defense.

       124.    Under applicable law, given the existence of an adverse relationship between

THC and Dr. Husel, as evidenced by calls placed by THC to the families of decedents who had

been under Dr. Husel’s care set forth in paragraphs []-[] above, THC may not select Dr. Husel’s

counsel.

       125.    On July 8, 2019, Dr. Husel demanded that THC and TAL advance the costs of his

defense.

       126.    On August 5, 2019, TAL denied Dr. Husel’s claim for advancement of the costs

of his criminal defense to the counts of the Indictment.

       127.    The reasons articulated in the Denial Letter are directly contradicted by the

reasons articulated in the First ROR, Second ROR and Third ROR (relating to civil claims based

on the same alleged Medical Incidents but in which the Hospital is also a defendant).

       128.    Given the pendency of the criminal action, TAL and THC’s refusal to advance the

costs of his defense are causing ongoing immediate and irreparable harm to Dr. Husel.

       129.    Therefore, Dr. Husel is entitled to a preliminary injunction requiring TAL and

THC to specifically perform their duties under the Policies and advance the costs of Dr. Husel’s

defense during the pendency of this action.




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       130.    Dr. Husel lacks an adequate remedy at law because, without advancement, he will

be unable to defend himself in the same manner that he would had THC and TAL complied with

their contractual obligations.

                                     Third Cause of Action
                                    (Against all Defendants)
                       (Specific Performance and Permanent Injunction)


       131.    Plaintiff repeats and re-alleges the allegations in the preceding paragraphs as

though fully set forth herein.

       132.    Dr. Husel is an insured under each of the Policies.

       133.    Each of the 25 counts of the Indictment relates to an instance in which Dr. Husel

provided care to a patient in connection with his employment as a physician in Mount Carmel’s

ICU.

       134.    Each of the 25 counts of the Indictment alleges facts that, if proven, would

constitute a “Medical Incident” under the Policies.

       135.    “Medical Incidents” constitute “Loss Events” under the Policies.

       136.    The Policies contain no exclusions for allegations of criminal conduct unless it is

“determined by final adjudication that the Insured committed such an act.”

       137.    The Policies contain no other applicable exclusions to the obligation to advance

the costs of Dr. Husel’s defense.

       138.    The Policies require THC to defend Dr. Husel for claims arising from actual or

alleged Medical Incidents, and require TAL to pay the costs of such defense.

       139.    Under applicable law, given the existence of an adverse relationship between

THC and Dr. Husel, as evidence by calls placed by THC to the families of decedents who had




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been under Dr. Husel’s care set forth in paragraphs []- [] above, THC may not select Dr. Husel’s

counsel.

       140.    On July 8, 2019, Dr. Husel demanded that THC and TAL advance the costs of his

defense.

       141.    On August 5, 2019, TAL denied Dr. Husel’s claim for advancement of the costs

of his defense to the counts of the Indictment.

       142.    The reasons articulated in the Denial Letter are directly contradicted by the

reasons articulated in the First ROR, Second ROR and Third ROR (relating to civil claims based

on the same alleged Medical Incidents but in which the Hospital is also a defendant).

       143.    Given the pendency of the criminal action, TAL and THC’s refusal to advance the

costs of his defense are causing ongoing immediate and irreparable harm to Dr. Husel.

       144.    Therefore, Dr. Husel is entitled to a permanent injunction requiring TAL and

THC to advance the costs and Dr. Husel’s defense.

       145.    Dr. Husel lacks an adequate remedy at law because, without advancement, he will

be unable to defend himself in the same manner that he would had THC and TAL complied with

their contractual obligations.

                                     Fourth Cause of Action
                                      (Breach of Contract)

       146.    Plaintiff repeats and re-alleges the allegations in the preceding paragraphs as

though fully set forth herein.

       147.    Dr. Husel is an insured under each of the Policies.

       148.    Each of the 25 counts of the Indictment relates to an instance in which Dr. Husel

provided care to a patient in connection with his employment as a physician in Mount Carmel’s

ICU.


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       149.    Each of the 25 counts of the Indictment alleges facts that, if proven, would

constitute a “Medical Incident” under the Policies.

       150.    “Medical Incidents” constitute “Loss Events” under the Policies.

       151.    The Policies contain no exclusions for allegations of criminal conduct unless it is

“determined by final adjudication that the Insured committed such an act.”

       152.    The Policies contain no other applicable exclusions to the obligation to advance

the costs of Dr. Husel’s defense.

       153.    The Policies require THC to defend Dr. Husel for claims arising from actual or

alleged Medical Incidents, and require TAL to pay the costs of such defense.

       154.    Under applicable law, given the existence of an adverse relationship between

THC and Dr. Husel, as evidence by calls placed by THC to the families of decedents who had

been under Dr. Husel’s care set forth in paragraphs []-[] above, THC may not select Dr. Husel’s

counsel.

       155.    On July 8, 2019, Dr. Husel demanded that THC and TAL advance the costs of his

defense.

       156.    On August 5, 2019, TAL denied Dr. Husel’s claim for advancement of the costs

of his defense to the counts of the Indictment.

       157.    The reasons articulated in the Denial Letter are directly contradicted by the

reasons articulated in the First ROR, Second ROR and Third ROR (relating to civil claims based

on the same alleged Medical Incidents but in which the Hospital is also a defendant).

       158.    As of the filing of this motion, Dr. Husel has spent more than $75,000 on defense

costs that should have been advanced under the Policies.




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       159.    Given the pendency of the criminal action, TAL and THC’s refusal to advance the

costs of his defense constitute a breach of the Policies.

       160.    Dr. Husel is entitled to reimbursement of all fees covered under the Policies that

he has been forced to pay due to THC and TAL’s breach, up until the date such repayment is

made, and pay all other such fees directly to Mr. Husel’s counsel until and unless there is a final

adjudication that he engaged in conduct that would void his coverage.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       A.     On the First Cause of Action, a declaration that under the applicable polices, TAL

              and THC must advance the legal fees and costs incurred by Dr. Husel in

              connection with the defense of the criminal action, that TAL and THC must accept

              Dr. Husel’s choice of counsel, and that each count in the Indictment which refers

              to a different Medical Incident constitutes a separate and distinct claim under the

              policies;

      B.      On the Second Cause of Action, a preliminary injunction requiring TAL and THC

              to advance the legal fees and costs incurred by Dr. Husel in connection with the

              defense of the criminal action up to and including the applicable policy limits;

      C.      On the Third Cause of Action, a preliminary injunction requiring TAL and THC to

              advance the legal fees and costs incurred by Dr. Husel in connection with the

              defense of the criminal action up to and including the applicable policy limits;

      D.      On the Fourth Cause of Action, awarding Plaintiff a sum equal to all fees paid or

              advanced to his chosen counsel in the criminal action, and no less than $75,000;




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      E.    On any and all Causes of Action, awarding Plaintiff such other and further relief,

            including but not limited to equitable relief, punitive damages, prejudgment

            interest, the costs of this action, and attorney’s fees, as the Court may deem just

            and appropriate.

Dated: August 22, 2019
       New York, NY



                                                        Respectfully submitted,



                                                        _____________________________
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